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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                8:17CR104
                                             )
      vs.                                    )
                                             )
JOY RAMOS, JUAN DIAZ LOPEZ,                  )                  ORDER
and OSCAR MACIAS,                            )
                                             )
                    Defendants.


      This matter is before the court on the defendant Juan Diaz-Lopez’s Unopposed
Motion to Continue Trial [42] with attached affidavit. Counsel requires additional time to
review evidence and prepare for trial. The defendant has complied with NECrimR
12.1(a). For good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [42] is granted, as follows:

      1. The jury trial, for all defendants, now set for October 16, 2017 is continued to
         November 27, 2017.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and November 27, 2017, shall be deemed excludable time in any
         computation of time under the requirement of the Speedy Trial Act. Failure to
         grant a continuance would deny counsel the reasonable time necessary for
         effective preparation, taking into account the exercise of due diligence. 18
         U.S.C. § 3161(h)(7)(A) & (B)(iv).

      DATED October 12, 2017.

                                    BY THE COURT:


                                    s/ Michael D. Nelson
                                    United States Magistrate Judge
